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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

MELISSA LANDA,                                   *
                Plaintiff,                       *
       v.                                        *      Civil Action No. 22-cv-00016-TJS
UNIVERSITY OF MARYLAND,                          *
COLLEGE PARK,
                Defendant.                       *

            *    *       *   *    *   *    *    *   *     *                      *      *
                         DEFENDANT’S REPLY IN SUPPORT OF ITS
                             PARTIAL MOTION TO DISMISS

       Defendant, the University of Maryland College Park, by its undersigned counsel, submits

this Reply in Support of its Partial Motion to Dismiss. As Defendant stated in its Memorandum of

Law in Support of its Partial Motion to Dismiss (ECF No. 34-1), the Court should dismiss: (1)

Plaintiff’s claims that Defendant created a hostile work environment based on Plaintiff’s religion

and retaliatory animus and (2) all discrete acts of alleged discrimination that occurred prior to

March 29, 2017, which are time-barred.

                                          ARGUMENT

       Plaintiff Dr. Melissa Landa (“Plaintiff” or “Dr. Landa”) alleges that the University treated

her differently than it treated other faculty members because of her religion, retaliated against her

because she opposed the University’s discriminatory treatment, and subjected her to a hostile work

environment because of her religion and because of the University’s retaliatory animus, all in

violation of Title VII. (ECF No. 33 ¶¶ 146-70, Counts I and II.) Dr. Landa’s allegations of discrete

acts of discrimination and retaliation that occurred prior to March 29, 2017, are time-barred, and

she fails to state a plausible claim that the University created a hostile work environment for her.

Thus, such claims should be dismissed.
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I.      DR. LANDA’S CLAIMS OF DISCRETE DISCRIMINATORY              AND   RETALIATORY CONDUCT
        PRIOR TO MARCH 29, 2017, ARE UNTIMELY.

        In her opposition, Dr. Landa essentially concedes that discrete acts of alleged

discrimination that occurred prior to March 29, 2017, are not actionable because they are time-

barred. Carrero v. Farrelly, No. CV JKB-16-3939, 2018 WL 1761957, at *5 (D. Md. Apr. 12,

2018) (“Plaintiff arguably conceded the very issue . . . by failing to respond to Defendants’

argument . . . .”). She simply argues that she can use time-barred acts as background evidence in

support of her timely claims. (ECF No. 35 at 2-3). Thus, the only discrete actions that could form

the basis for her disparate treatment claims are those that she alleges occurred after March 29,

2017: (1) her termination, of which she received notice on June 8, 2017 (Amended Complaint,

ECF No. 33 ¶ 124),1 and (2) two “reprimands” by Dr. Hultgren in the spring of 2017.2 (Id. ¶¶ 115-

121.)

II.     DR. LANDA’S HOSTILE WORK ENVIRONMENT CLAIMS SHOULD BE DISMISSED.

        Although alleged discriminatory actions that occurred prior to March 29, 2017, would be

considered untimely, Dr. Landa relies on the “continuing violation doctrine” to save her hostile



        1
          The University’s President affirmed Dr. Landa’s termination one day later on June 9,
2017. (ECF No. 33 ¶¶ 122-25.) The statute of limitations begins to run for limitations purposes for
Title VII when the employer advises the employee of the impending adverse employment action,
such as when it advises the employee that she will be terminated, not when the adverse action takes
effect, such as the last day of employment. Delaware State Coll. v. Ricks, 449 U.S. 250, 258 (1980).
        2
          The Amended Complaint suggests that Dr. Hultgren reprimanded Dr. Landa in an e-mail
in April 2017 for notifying the Maryland Department of Education that Dr. O’Flahavan refused to
cite Dr. Landa’s work. (ECF No. 33 ¶¶ 115-117.) It is not clear from the Amended Complaint
whether Dr. Hultgren conveyed the May 2017 “reprimand” verbally or in writing. (Id. ¶¶ 115-
121.) It is also not clear whether Dr. Landa alleges that the “reprimands” were discrete acts of
discrimination or part of her hostile work environment claims. In her EEOC Charge, Dr. Landa
appears to combine the two into one, alleging that Dr. Hultgren reprimanded her for getting
involved in the course assignments at the beginning of Passover, which was in April 2017. (Id.
Exhibit C at 3, Exhibit D ¶ 58.)


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work environment claims. (ECF No. 35 at 3-4.) In National Railroad Passenger Corporation v.

Morgan, the U.S. Supreme Court held “that consideration of the entire scope of a hostile work

environment claim, including behavior alleged outside the statutory time period, is permissible for

the purposes of assessing liability, so long as an act contributing to that hostile environment takes

place within the statutory time period.” 536 U.S. 101, 105 (2002). “Such a timely-act ‘anchors’

the previous acts that occurred more than 300 days before the charge, making them also timely

under the continuing violation doctrine.” Edwards v. Murphy-Brown, L.L.C., 760 F. Supp. 2d 607,

620 (E.D. Va. 2011). Assuming, arguendo, that at least one of the alleged acts that occurred after

March 29, 2017, “anchors” the previous alleged acts, Dr. Landa nevertheless fails to allege that

her workplace was “permeated with ‘discriminatory intimidation, ridicule, and insult,’ that is

‘sufficiently severe or pervasive to alter the conditions of [her] employment and create an abusive

working environment.’” Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993) (internal citations

omitted).

       Dr. Landa argues that she was “publicly humiliated, demeaned, threatened, alienated, and

abused” before being terminated, “[s]he had her professional work product stolen and used without

accreditation,” and the University took classes away from her and gave them to less qualified

professors. (ECF No. 35 at 5 (citations omitted).) Although Dr. Landa subjectively felt humiliated,

demeaned, threatened, alienated, and abused, the conduct she alleges in her Amended Complaint

is not objectively severe or pervasive such that it meets the “high bar” required to assert a plausible

hostile work environment claim. (See Defendant’s Memorandum of Law in Support of their Partial

Motion to Dismiss, ECF 34-1 at 10-13.)

       Dr. Landa cites legislative history and several cases about disparate treatment, including

claims that an employer failed to hire or promote employees because of discrimination. (ECF No.



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35 at 6-8.) Differential treatment, alone, is not sufficient to allege a hostile work environment.

“Title VII does not prohibit ‘genuine but innocuous differences’ in the ways that persons interact

during their employment with each other.” Sharafeldin v. Maryland, Dep’t of Pub. Safety & Corr.

Servs., 131 F. Supp. 2d 730, 737 (D. Md.) (quoting Oncale v. Sundowner Offshore Servs., Inc., 523

U.S. 75, 81 (1998)), aff’d sub nom. Sharafeldin v. State of Maryland, Dep’t of Pub. Safety & Corr.

Servs., 21 F. App’x 227 (4th Cir. 2001). Dr. Landa must allege harassment that was (1) unwelcome,

(2) because of her religion or protected activity, (3) sufficiently severe or pervasive to alter the

conditions of her employment and create an abusive atmosphere, and (4) imputable to the

defendant. Wolfe v. Columbia Coll., Inc., No. GJH-20-1246, 2021 WL 2805952, at *8 (D. Md.

July 6, 2021) (citing EEOC. v. Cent. Wholesalers, Inc., 573 F.3d 167, 175 (4th Cir. 2009)).

       Dr. Landa further argues that her supervisors indeed made “negative, incendiary, and

derogative comments about her religion.” (ECF No. 35 at 5-6.) Dr. Landa cites one example: her

allegation that Dr. Hultgren told Dr. Landa that she should have never granted her permission to

travel Israel, she had not realized that Passover lasts eight days, and that Dr. Landa was “somehow

‘using’ her.” (ECF No. 33 ¶ 45.) Objectively, Dr. Hultgren’s alleged comments do not amount to

harassment because of Dr. Landa’s religion. See E.E.O.C. v. Sunbelt Rentals, Inc., 521 F.3d 306,

311 (4th Cir. 2008) (a Muslim employee was subjected to harassment because of religion when

his coworkers used religiously charged epithets, called him names such as “Taliban” and “towel

head,” made fun of his appearance, “challenged his allegiance to the United States, suggested he

was a terrorist, and made comments associating all Muslims with senseless violence.”). The

allegations in Dr. Landa’s Amended Complaint—taken together—do not allege that University

employees used any religious insults, slurs, or epithets toward Dr. Landa. Dr. Landa’s allegations

do not come close to alleging that her workplace was “permeated with ‘discriminatory



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intimidation, ridicule, and insult,’ that is ‘sufficiently severe or pervasive to alter the conditions of

[her] employment and create an abusive working environment.’” Harris, 510 U.S., at 21 (internal

citations omitted).

        Finally, Dr. Landa argues that she alleged facts indicating that her supervisors were aware

of her internal complaints of discrimination. (ECF No. 35 at 8.) Citing the University of Maryland

Policies and Procedures Governing Faculty Grievances, she argues that, after a faculty grievance

is filed, the Faculty Ombuds Officer reviews the allegations with the respondents. (Id. at 9.) The

document she cites, however, indicates that it was last amended on February 7, 2020, and it is not

clear what portions of it were in effect during 2016 and 2017. Moreover, she did not make such

allegations in her Amended Complaint.

                                           CONCLUSION

        For the foregoing reasons and those reasons stated in Defendant’s Memorandum of Law in

Support of its Partial Motion to Dismiss, the Court should grant Defendant’s Partial Motion to

Dismiss.

                                                        Respectfully submitted,

                                                        BRIAN E. FROSH
                                                        Attorney General of Maryland


                                                        /s/ Kathryn J. Bradley
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April 29, 2022                                          Attorneys for Defendant

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                                CERTIFICATE OF SERVICE

       I hereby certify that on 29th day of April, 2022, a copy of the foregoing was served on all

parties of record via ECF.



                                                     /s/ Kathryn J. Bradley
                                                     Kathryn J. Bradley
